                         Case 1:16-cr-00520-BPG Document 23 Filed 06/06/17 Page 1 of 5
Sheet 1 - Judgment in a Criminal Case with Probation (Rev. 07/2014)                                                                         Judgment Page 1 of 5



                                       Uni~hQJi~lfJ:~~;~FtDistrict
                                                              Court                                                                                       std
                                                  f;:-S T:~;jjistritf'Hr"Maryland
                                                   ZOI1JWI -6                              AM10: 50
              UNITED STATES OF AMERICA                                                                    JUDGMENT        IN A CRIMINAL         CASE
                                  CLG.\'~~Gr-t-ICE                                                (For Offenses Committed on or After November 1, 1987)
                          v.       ~.T ef\Ltr:"iC-1t,E
                                                                                                  Case Number: BPG-1-16-CR-00520-001
                                                   "'~'\1
                                                      i   p""   _••.   _   •••.   _'   p
                                                                                               7.~JT~{

                     CHARLES MILLER, IV                                                           USM Number: N/ A
                                                                                                  Defendant's Attorney: Frank Boozer, Jr.

                                                                                                  Assistant U.S. Attorney: Sanjay Patel

THE DEFENDANT:
o pleaded guilty to count(s)     _
o pleaded nolo contendere to count(s)                                                  .,which was accepted by the court.
~ was found guilty on count(s) 1 & 2                                                   after a plea of not guilty.

                                                                                                               Date                          Count
       Title & Section                          Nature of Offense                                       Offense Concluded                  Number(s)
 18 U.S.C. S 248(a)(3) and (2)               Access to Clinic Entrance                                February 24 & 25, 2016                    1
 18 U.S.C. S 248(a)(3) and (2)               Access to Clinic Entrance                                February 24 & 25, 2016                    2

    The defendant is adjudged guilty of the offense(s) listed above and sentenced as provided in pages 2
through   5     of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by United States v. Booker, 543 U.S. 220 (2005).

o    The defendant has been found not guilty on count( s)
o    Count(s)         (is)(are) dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                                                                  May 30, 2017
                                                                                                 Date ofImposition   of Judgment




                                                                                              &~
                                                                                              . United States Magistrate Judge



Name of Court Reporter:         FTR
                         Case 1:16-cr-00520-BPG Document 23 Filed 06/06/17 Page 2 of 5
Sheet 2 - Judgment in a Criminal Case with Probation (Rev. 07/2014)                                                  Judgment Page 2 of   5
DEFENDANT:          CHARLES         MILLER,       IV                                   CASE NUMBER: BPG-I-16-CR-00520-001


                                                                      PROBATION
    The defendant is hereby placed on probation for a term of 3 (Three) years as to each of Counts 1 and 2, to
run concurrently .

A.      The defendant shall comply with all of the following conditions:

1) The defendant shall not commit any federal, state or local crime.
2) In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 U.S.c. S921.
3) The defendant shall not illegally use or possess a controlled substance.
4) The defendant shall submit to one drug test within 15 days of placement on probation and at least two
   periodic drug tests thereafter, as directed by the probation officer.
D The above drug testing condition is suspended based on the court's determination that the defendant poses a
   low risk of future substance abuse. (Check, if applicable.)
5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of
   2004, if applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau
   of Prisons, or as directed by the probation officer.
6) If this judgment imposes any criminal or monetary penalty, including special assessment, fine, or restitution,
   it shall be a condition of probation that the defendant pay any such criminal monetary penalty in accordance
   with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment. The
   defendant shall notify the court of any material change in the defendant's economic circumstances that
   might affect the defendant's ability to pay restitution, fines, or special assessments.




                                B.        STANDARD CONDITIONS OF SUPERVISION
1)    The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependents and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    The defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within 72 hours of being arrested or ques~ioned by a law enforcement officer;
12)   The defendant shall notify the probation officer within 72 hours of being charged with any offense, including a traffic offense;
13)   The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
      permission of the court;
14)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                         Case 1:16-cr-00520-BPG Document 23 Filed 06/06/17 Page 3 of 5
Sheet 2.01 - Judgment in a Criminal Case with Probation (Rev. 07/2014)                                                Judgment Page 3 of 5

DEFENDANT: CHARLES MILLER, IV                                                                CASE NUMBER: BPG-1-16-CR-00520-001


                                                          C. PROBATION
                                                      ADDITIONAL CONDITIONS

         1.      The defendant shall satisfactorily participate in a treatment program approved by the probation
officer relating to substance and/or alcohol abuse, which may include evaluation, counseling, and testing as
deemed necessary by the probation officer.

           2.        The defendant shall perform                  50 (Fifty)   hours of community service as directed by the probation
officer.

        3.     The defendant shall satisfactorily participate in a mental health treatment program approved by
the probation officer, which may include evaluation, counseling, and testing as deemed necessary by the
probation officer.

         4.     The defendant shall be placed on home detention for a period of 6 (Six) months and shall abide
by all requirements of the program. During this time the defendant shall be restricted to his/her place of
residence except for activities approved in advance by the probation officer, including leave to seek and obtain
employment.

           5.        The defendant shall not consume alcohol during the period of supervision.
                           Case 1:16-cr-00520-BPG Document 23 Filed 06/06/17 Page 4 of 5
Sheet 3, Part A - Judgment in a Criminal Case with Probation (Rev. 07/2014)                                                         Judgment Page 4 of 5

DEFENDANT:           CHARLES MILLER, IV                                                                   CASE NUMBER: BPG-I-16-CR-00520-001


                                             CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 3B.


                        Assessment                                              Fine                                Restitution
  TOTALS              $ 50.00 ($25.00 per Ct.)                                $ 0.00                              $ 327.21
  o      CVB Processing Fee $25.00

  o     The determination of restitution is deferred until Click ht'rc to cnter a datc..           An Amended Judgment in a Criminal Case (AO 245C)
                                                                                                   will be entered after such determination.

  o      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. S 3664(i), all nonfederal
       victims must be paid before the United States is paid.
  Name of Payee                           Total Loss*                 Restitution Ordered              Priority or Percentage
  Clerk, U.S. District Court
  101 W. Lombard Street
  Baltimore, MD 21201




  TOTALS                                 $                                            $                      327.21
                                             ---------

  o      Restitution amount ordered pursuant to plea agreement

  o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

  IZI    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         IZI the interest requirement is waived for the 0              fine     IZI       restitution

         o  the interest requirement for the 0 fine       0 restitution is modified as follows:
  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and ll3A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
                            Case 1:16-cr-00520-BPG Document 23 Filed 06/06/17 Page 5 of 5
Sheet 3, Part B - Judgment in a Criminal Case with Probation (Rev. 07/2014)                                                  Judgment Page 5 of 5
DEFENDANT:            CHARLES MILLER, IV                                                          CASE NUMBER: BPG-1-16-CR-00520-001
                                                      SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      ~      Special Assessment due in full immediately; or within the first 6 months of probation.

B      0 $             _   immediately, balance due (in accordance with C, D, or E); or

C      0 Not later than                ; or

D      0 Installments to commence                     day(s) after the date of this judgment. In the event the entire amount of criminal
              monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation officer shall pursue
              collection of the amount due, and shall request the court to establish a payment schedule if appropriate; or

E      0 In             (e.g. equal weekly, monthly, quarterly) installments of $                    over a period of        year(s) to
              commence when the defendant is placed on probation.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of probation, the balance shall be paid:

       ~      in equal monthly installments during the term of probation; or

       o      on a nominal payment schedule of $               _     per month during the term of probation.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.

Special instructions regarding the payment of criminal monetary penalties:
o     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o          The defendant shall pay the cost of prosecution.

 o         The defendant shall pay the following court cost(s):

o          The defendant shall forfeit the defendant's interest in the following property to the United States:
